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June 30, 2023

Via ECF

Honorable Jennifer H. Rearden, U.S.D.J.
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007

                Re:    Mahulawde v. Fashion Institute of Technology, et al.
                       Docket No. 21-CV-3878 (PAE)
                       Our File No. 22643.00009

Dear Honorable Judge Rearden,

My firm represents the defendants, Fashion Institute of Technology, Joseph Maiorca, Roberta
Paley and Roberta Degnore, in the above referenced matter. We respectfully write, jointly with
plaintiff, pursuant to Your Honor’s Order dated May 22, 2023, requesting a Joint Status Letter.

To date, the parties have fully completed their fact discovery. However, defendants are still in the
process of obtaining available dates for plaintiff to appear for a psychiatric IME relative to her
claim of emotional distress damages – the parties are hopeful that this will take place prior to
August 1, 2023. In addition, Plaintiff’s counsel intends on noticing a psychiatric expert. Therefore,
the parties respectfully request a 90-day extension to complete expert discovery to Monday,
October 30, 2023 as additional time is needed for the completion of all necessary expert reports
and depositions.

Although appreciated, defendants respectfully do not believe it would be fruitful to defer this
matter to a Magistrate Judge for a settlement conference. As such, a briefing schedule is
appropriate. The proposed deadlines are November 30, 2023 for a pre-motion letter, December 29,
2023 for opposition of said letter, January 29, 2024 for submission of a motion for summary
judgment, February 28, 2024 for any opposition to the motion for summary judgment, and March
13, 2024 for the submission of any reply papers.

We continue to thank the Court for its time and attention in this matter.

                                                                     Respectfully submitted,


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                                                                     Nancy V. Wright
                                                                     Stefanie L. Shmil
cc:    Shane Seppinni (via ECF)
